Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 1 of 9




               Exhibit 15
       Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 2 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH A. DAOU and KAREN M. DAOU,
                        Plaintiff,
v.

BLC BANK, S.A.L., CREDIT LIBANAIS,                  Case No. 1:20-cv-4438

S.A.L., AL-MAWARID BANK, S.A.L., and
BANQUE DU LIBAN,
                        Defendants.




 DECLARATION OF PATRICK SOUMRANL Esq.


       I, Patrick Soumrani, declare pursuant to 28 U.S.C. § 1746:


       1. I am the managing partner of Soumrani Lawyers and Legal Counsels, a Lebanese law
firm established in Beirut, Lebanon. I have been admitted to the Beirut Bar Association in 1993,
and act as counsel and litigator.


       2. I hold an LL,D. from Paris II Assas University for a thesis titled "The fiduciary
ownership of shares" which won the Albert Wahl Prize (rewarding the best thesis in Commercial
and Corporate Law in France) and the Prize of the Association of Corporate Legal Counsels of
Paris and Ile de France ("Le portage d'actions", ed. LGDJ, 1996, preface B. Oppetit). I specialize
in mergers and acquisitions, banking and finance law, corporate law, commercial law and
litigation. I am also a Professor of Corporate and Business Law at the School of Law and Political
Sciences of Saint Joseph University of Beirut, and former member of the committee in charge of
the revisions of the Code of Commerce, appointed by the Ministry of Justice.




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        Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 3 of 9




         3. I submit this declaration in support of Credit Libanais S.A.L.'s ("CL Bank") motion to
dismiss plaintiffs Joseph and Karen Daou's (the "Plaintiffs") complaint (the "Complaint") and
their Motion to Attach (the "Motion").

         4. I am a native Arabic speaker and fluent in English, and for ease of the parties and the
Court, have prepared this declaration in English.

         5. For the purpose of this declaration I have reviewed scanned copies of the following
documents:

         a. The "Agreement for Opening an Account/Accounts in our Names at Your Bank with a
             Request to Issue Bank Payment Cards and Subscribe to the Bank's Electronic Services"
             dated 9 March 2016 duly executed by the Plaintiffs and CL Bank (the "Agreement").


         b. The checks drawn by CL Bank on its account with Banque du Liban to the order of the
             Plaintiffs, dated, respectively, 21 November 2019 for an amount of US$5,300,000, and
             2 December 2019 for an amount of US$40,180 (collectively the "Checks").

         c. the Complaint filed by the Plaintiffs in this lawsuit and the Plaintiffs' declaration filed
             with the Motion.


         A. Governing Law


         6. Under the Lebanese conflict of law principles, the contracting parties are free to
designate the Lebanese law as the law that governs their agreement, relationship and resolution
of any disputes that may arise in connection therewith.


         7. The general conditions set out in the Agreement designate, in clause 11 of the section
titled "General Conditions Governing the Opening and Operation of a Savings Account", the
Lebanese law as the law governing the said savings account (the "Account") and state that the
"account is subject (...) to the Laws stipulated in the [Lebanese] Code of Money and Credit, the


1 Except for agreements or issues determined by law as being of public interest.

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      Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 4 of 9




Code of Obligations and Contracts, and the Law governing the Joint Account, dated 19 December
1961."

         8. In my opinion, such clause would be given full effect under the laws of Lebanon.
Consequently, the Lebanese law designated by this clause would govern (i) all questions of
compliance with contractual obligations as between the parties in relation to the Account, and
(ii) all contractual claims relating to the parties' agreements and to the parties' relationship
deriving from the Account.

         9. Any claims in tort by the Plaintiffs, including those for fraud or conversion, would
also be governed by the Lebanese law, pursuant to the "lex loci delicti commissi" rule
according to which the governing law in the case of a tort is the law of the place where the
alleged tort has purportedly been committed. Based on my review of the Complaint and the
Plaintiffs' declaration, under Lebanese law, Lebanon would be the place where the alleged
torts deriving from the Agreement have been committed.


         B. Jurisdiction


         10. Under the Lebanese conflict of jurisdiction principles, the courts of Lebanon are
competent to look into this dispute.


         11. This competence results from articles 74, 97, 100 and 102 of the Lebanese Code
of Civil Proceedings ("CCP").

         12. Article 74 of the CCP provides that "[t]he international competence of the
Lebanese courts is in principle subject to the rules governing the internal competence without
distinction between a Lebanese and a foreigner".

         13. Articles 97, 100 and 102 of the CCP, which are the relevant rules governing the
internal competence of the Lebanese courts, give such courts competence to look in this
dispute on each of the following grounds:




                                                3
         Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 5 of 9




         (i)     all the Defendants are domiciled in Lebanon (articles 97, 100 and 102 of the
                 CCP),
         (ii)    the Agreement has been signed and is performed in Lebanon where the Account
                 is opened and maintained (article 100 of the CCP), and
         (iii)   the alleged tortuous acts have occurred in Lebanon (article 102 of the CCP).


         14. It is my opinion that the Lebanese courts are the most appropriate courts to interpret
and apply the Lebanese law, especially when the claim implicates the operation of the
Lebanese financial system in light of the current financial crisis in Lebanon. Indeed, the crisis
has given rise to legal issues that have not been previously addressed, in addition to the
passing of new laws and regulations imposed by the unprecedented events that took place
since October 2019. The interpretation and application of the said laws and regulations, as
well as the answer to the legal issues that the crisis generated, can best be addressed in my
opinion by the Lebanese courts because of their concrete understanding of the Lebanese
financial situation and of its implications.


         C. Lebanese law relating to international transfers


         15. The Lebanese statutes and decrees in force do not impose on banks the providing
of the international transfers of funds service to their clients.


         16. As a result, such transfers require the mutual agreement of the clients and the
banks.

         17. Nothing in the Agreement stipulates for an obligation on CL Bank to make payment to
the Plaintiffs by way of international transfers.


         18. In light of the above, it is my opinion that CL Bank is not obliged to abide by the
Plaintiffs request to transfer abroad funds from the Account.




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        Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 6 of 9




        D. Lebanese law relating to checks


        19. CL Bank may pay the Plaintiffs' deposits by arranging for the issuance and remittance
of banker checks, such as the Checks, to their order.


        20. Payments by checks, such as the Checks, are recognized under the Lebanese law as a
valid payment method usable in Lebanon, as provided for in articles 409 and subs. of the Code of
Commerce ("CC").


        21. Given that the Checks are crossed2 and specify that their place of payment is Beirut,
the Plaintiffs should expect and request payment thereof by deposit for crediting in an account
with any bank in Lebanon.

        22. This results from the provisions of articles 409 and 434 of the CC:

             •   Article 409, paragraph 4, of the CC provides that a check must contain the
                 indication of the place where payment must be made. The Checks clearly mention
                 on their face that they are payable in Beirut.


             •   According to Article 434 of the CC, crossed checks can be cashed only by way of
                 their deposit in an account with the issuing bank or with any other bank of the
                 Plaintiffs' choice.

        23. Under Lebanese law, upon the Plaintiffs' acceptance of the Checks drawn on the
Central Bank, it is my opinion that CL Bank would have performed its obligations to the Plaintiffs
as to amounts set forth in the Checks, and it becomes incumbent upon the Plaintiffs to deposit the
Checks in an account in any bank in Lebanon. Consequently, CL Bank would have no further
obligation towards the Plaintiffs in this respect.




2 Crossed checks are provided for in articles 433 and subs. of the CC. It is common practice in the banking industry
in Lebanon to issue "crossed" checks, which are similar to the "banker" checks, in order to secure proper payment in
favor of the payee. They constitute valid means of payment.

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       Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 7 of 9




        E. The Lebanese Courts are Fully Operational and Subject to the Rule of Law


        24. I have reviewed the portions of the Plaintiffs' complaint concerning the "utter collapse"
of the rule of law in Lebanon. In my opinion, the Plaintiffs' claims in this respect are not correct.


       25. The Plaintiffs should, given the recent precedents rendered by the Lebanese courts
since the beginning of the financial crisis in Lebanon, receive a fair and just adjudication on the
merits of their claims and, should they prevail, obtain a genuine remedy for any damages awarded.


       26. The courts in Lebanon have remained fully operational throughout the current financial
crisis, except for limited closures due to rallies and to the COVID-19 pandemic. In spite of a
slowdown due to the abovementioned closures, cases are being filed, litigated and decided,
including involving disputes relating to the crisis. In my opinion, a court in Lebanon is capable of
adjudicating the claims against Defendants in a fair and reasonably efficient manner.

       27. The Lebanese legal system traces to the country's 1926 Constitution. Similar to the
United States, Lebanon has adopted separation of powers principles as between the executive,
legislature, and judiciary.

       28. Similar to the U.S. federal system, Lebanon has a three-tiered system. Decisions
rendered by courts of first instance in Lebanon may be appealed to a three judge Courts of Appeal
and in turn to the Supreme Court of Lebanon, the Court of Cassation.

       29. Lebanon places great emphasis on the judiciary's independence and the principle of
litigants' equality under the law. Article 1 of the CCP affirms that the "[t]he judiciary is a power
independent from the other powers in the investigation and resolution of lawsuits, and such
independence cannot be restricted by any limit which is not providedfor in the Constitution."

        30. Article 7 of the CCP expressly provides for the equality of all litigants, "Lebanese or
foreigners," without any discrimination based on nationality.

       31. Lebanon is a party to the U.N. International Covenant on Civil and Political Rights of
1966. Lebanon's Constitutional Council has exalted the Covenant's provisions above national

                                                 6
      Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 8 of 9




statutes (CCP, Article 2). Article 14 of the Covenant states that Vaill persons shall be equal
before the courts and tribunals" and protected by due process.

       32. In my professional experience, the Lebanese judiciary rules based on the merits of each
case. As a general remark, the Lebanese legal system is strongly inspired from the French one.
The judiciary is governed and guided by the comprehensive CCP, which is modeled on the French
system. In evaluating claims and rendering decisions, the judiciary follows the applicable codes
and statutes, such as Lebanon's Code of Obligations and Contracts and Code of Commerce, which
are also modeled on French law. The French inspiration has led Lebanese authors and courts to
rely on the interpretations and solutions adopted by French scholars and jurisprudence, whenever
the contents of the French and Lebanese texts of law were similar or sufficiently close.

       33. The Plaintiffs are not without access to recourse in Lebanon in the present climate. To
the contrary, there have been several cases pending in Lebanese courts in recent months involving
disputes between banks operating in Lebanon and their customers and several judgments have
been rendered by first instance courts and are currently the subject of appeals, which are still
pending before the Courts of Appeal.


       F. Requested Relief is Available in Lebanon Under Lebanese Law


       34. In Lebanon, under Lebanese law, the Plaintiffs are free to assert any claims against
Defendants for damages arising from the conduct alleged in the complaint.


       35. Claims based on breach of contract and torts, including for fraud or wrongful
domination of property or others, are available under Lebanese law.

       36. A Lebanese court could award a judgment against Defendants and an order enforcing
that judgment. If claims against them are found to be meritorious in Lebanon, the Defendants
would face liability and judgments in the Lebanese courts.




                                                7
       Case 1:20-cv-04438-DLC Document 61-15 Filed 11/20/20 Page 9 of 9




        G. Conclusion


        For all of the above outlined reasons, I am of the opinion that:
       (1)      Based on the Lebanese statutes and decrees and the Agreement, it is my opinion that
                CL Bank was not obliged to abide by the Plaintiffs' request to transfer abroad funds
                from the Account.
       (ii)     CL Bank acted consistent with Lebanese law in issuing and delivering the Checks
                to the Plaintiffs and thus fulfilling its obligations towards them.
       (iii)    The Checks are valid payment instruments under Lebanese law.
       (iv)     The Lebanese courts are competent to exercise jurisdiction over any claims related
                to the Agreement between CL Bank and the Plaintiffs, whether in contract or tort.


I declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.


Dated: October 7, 2020                         /s/ Fivgide /------
       Beirut                                          Patrick Soumrani




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